                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge Walker D. Miller


Criminal Action No. 06-cr-00002-WDM

UNITED STATES OF AMERICA,

        Plaintiff,

v.

CHRYSANTH G. GRUENANGERL,

        Defendant.

___________________________________________________________________

                               ORDER
___________________________________________________________________


        This matter is before me on defendant’
                                             s motion for a psychiatric or psychological

examination of the defendant to determine whether the defendant suffers from a mental

disease or defect which causes a need that he be placed in a suitable facility for care

or treatment pursuant to 18 U.S.C. § 4247(c)(4)(E). The government opposes the

motion.

        Following review of the file and argument of counsel, including the statements

attributed to the attending physician who examined defendant, I interpret defendant’
                                                                                   s

motion to request both a determination of competency of defendant to understand the

nature and consequences of the sentencing proceedings or his ability to properly assist

in his defense pursuant to 18 U.S.C. § 4241(a) and a request for a determination of

whether defendant has a mental disease or defect which may require the need of

PDF FINAL
custody for care or treatment in a suitable facility at sentencing pursuant to § 18 U.S.C.

§ 4244. I conclude that there is reasonable cause to believe that defendant may

presently be suffering from a mental disease or defect which may render him mentally

incompetent or in need of special care or treatment as a part of sentencing.

        Pursuant to 18 U.S.C. § 4247(b) and (c), it is ordered that:

        1. Defendant is committed to the custody of the United States Attorney General

for a reasonable period, not to exceed 30 days, for placement in a suitable facility for

the purpose of conducting a psychiatric or psychological examination to determine

defendant’
         s mental competence to understand the nature and consequences of the

sentencing proceedings against him or to assist properly in his defense thereof, as well

as a determination of whether he is in need of custody for care or treatment in a

suitable facility while serving his sentence.

        2. A psychological or psychiatric report shall be prepared by the examiner and

filed with this court, with copies to counsel, no later than February 2, 2007.

        3. Unless impracticable, I order that the examination be conducted at the

Federal Medical Center in Rochester, Minnesota, the facility closest to this court.

        DATED at Denver, Colorado, on December 13, 2006.

                                                    BY THE COURT:



                                                    s/ Walker D. Miller
                                                    United States District Judge




PDF FINAL                                       2
